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                                                                                      FILED
                                                                                    US D·ST~ICT COURT
                                                                                EASTERN DISTRICT ARKANSAS



                       IN THE UNITED STATES DISTRICT COURT ~N                 2 4 2014
                           EASTERN DISTRICT OF ARKANSAS JAM            ·                      C ERK
                                WESTERN DIVISION
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UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                    NO. 4:12CR00126-02 JLH

LARIN LOCKHART                                                                      DEFENDANT


                   AMENDED .JUDGMENT & COMMITMENT ORDER

        Without objection, the government's motion to amend the Judgment & Commitment Order

entered on December 4, 2013, is GRANTED. Document #106.

       IT IS THEREFORE ORDERED that the Judgment & Commitment Order entered on

December 4, 2013, is hereby amended to reflect that the total restitution amount owed of $26,600.00,

is payable to the victims as indicated on the attached spreadsheet.

        Upon disbursement of payments to each victim, the Clerk is directed to send a copy of each

disbursement concurrently to Western Union, Global Security/Global Investigations, 12500 E.

Belford Avenue, M21B1, Englewood, Colorado 80112, Attn: Randy Hansen.

       All other conditions contained in the original Judgment & Commitment remain in full force

and effect.

       IT IS SO ORDERED this        Z.~       day of January, 2014.




                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
                                      Case 4:12-cr-00126-JLH Document 108 Filed 01/24/14 Page 2 of 2




Larin Lockhart Restitution List

                                  Amount:       Victim Information:                    Victim Address:                                Victim Phone #:

                                    $4,750.00 Campos Insurance                         502 E. Expressway 83, Weslaco, TX 78596        (956) 969-2122
                                     $950.00 A&J Tobacco                               7128 Hwy. 301 North, Lake Cormorant MS 38641   (662) 781-0970
                                     $950.00 Monterey Grocery and Deli                 1324 Monterey Rd., Pearl, MS 39208             (601) 932-6620
                                      $950.00 Movie Towne                              123 Valley View Rd., Rose Bud, AR 72137        (501) 556-4488
Lazaro Acosta                       $3,800.00 Lazaro Acosta                            2345 West 52nd St., Hialeah, FL 33016          (305) 281-4554
Jen Chang                           $1,900.00 Centerfire                               2689 Mission St., San Francisco, CA 94110      (415) 695-8861
                                    $1,900.00 Telfer Restauraunt and Bakery            748 Linden Blvd., Brooklyn, NY 11203           (718) 485-2710
                                    $1,900.00 Kotoko International Food                281 Burnside Ave., East Hartford, CT 06108     (860) 282-7744
                                    $8,550.00 Verma Fuel                               375 Clinton Ave., Hempstead, NY 11550          (516) 280-5836
Ramo Libic                              950.00 International Grocery and Music Store   1024 Webster Ave. Utica, NY 13501              (315) 601-1228

                                   $26,600.00
